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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                        Chapter 11

 26 BOWERY LLC, et al.,                                        Case No: 22-10412 (MG)

                                     Debtors.                  Jointly Administered
 ----------------------------------------------------------X

               STIPULATED ORDER MODIFYING DIP LOAN AGREEMENT

          This stipulation and agreed order (“Stipulation and Order”), is made by and between 26

Bowery LLC (“26 Bowery”) and 2 Bowery Holding LLC (“2 Bowery”; together with 26 Bowery,

“Debtors”) and Double Bowery Funding LLC (“DIP Lender,” and together with the Debtors, the

“Parties”) with respect to the Senior Secured Super-Priority Debtor-In-Possession Loan

Agreement (and, together with any attached exhibits and other agreements related thereto,

including, without limitation, all security agreements and all related or ancillary documents and

agreements, “DIP Loan Agreement”).

                                                 RECITALS

          WHEREAS, on March 31, 2022, the Debtors each filed a voluntary petition under Chapter

11 of the United States Bankruptcy Code;

          WHEREAS, on July 1, 2022, the Debtors filed their Motion to Approve Debtor in

Possession Financing (ECF Doc. 55) (“DIP Motion”);

          WHEREAS, on July 20, 2022, the Court entered the Final Order (I) Authorizing Debtors

to (A) Obtain Postpetition Financing and Utilize Cash Collateral pursuant to 11 U.S.C. §§ 105, 362,

363, 364(c)(1), 364(d), and 364(e), (B) Granting Adequate Protection to Prepetition Secured

Lender, (C) Modifying the Automatic Stay, and (D) Granting Related Relief (ECF Doc. 69) (“Final




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Order”) which, among other things, approved the DIP Motion and authorized the Debtors to enter

into the DIP Loan Agreement;

       WHEREAS, the DIP Agreement contained a “Maturity Date” of March 31, 2023, which

the Parties seek to extend;

               NOW THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE,

AS FOLLOWS:

       1.      The definition of “Maturity Date” is hereby modified, effective nunc pro tunc to

March 31, 2023, to read:

       “Maturity Date” shall mean the earliest of (i) the closing on the sale of all or
       substantially all of Borrowers’ assets pursuant to section 363 of the Bankruptcy
       Code, (ii) the date that is twenty four (24) months after the Petition Date, (iii) the
       date on which all the obligations under this Agreement have been indefeasibly
       repaid in full in cash and all commitments under this Agreement have been
       permanently and irrevocably terminated, (iv) the date that a chapter 11 plan for
       Borrowers pursuant to chapter 11 of the Bankruptcy Code is declared effective, and
       (v) the date of termination of the commitments and/or acceleration of any
       outstanding extensions of credit under this Agreement following the occurrence and
       during the continuance of an Event of Default; provided, however, that the Maturity
       Date may be extended without further order of the Bankruptcy Court on written
       agreement of the Debtor and Lender.

       2.      All other terms of the DIP Loan Agreement and Final Order shall remain in full force

and effect.

       3.      This Stipulation and Order may be executed in counterparts, each of which shall

be deemed an original but all of which together shall constitute one and the same instrument.

Electronic signatures shall have the same force and effect as original signatures.

       4.      The Court has and will retain jurisdiction to enforce the terms of any and all matters

arising from or related to this Stipulation and Order




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Dated: August 2, 2023

 LEECH TISHMAN                             DOUBLE BOWERY FUNDING
 ROBINSON BROG, PLLC

 By:    /s/ Fred B. Ringel                 By:   /s/ Doris Shen
        Fred B. Ringel                           Doris Shen
        875 Third Avenue                         1140 Broadway
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  Counsel for Debtors




IT IS SO ORDERED.
Dated: August 14, 2023
       New York, New York

                                                        /s/ Martin Glenn
                                                          MARTIN GLENN
                                                 Chief United States Bankruptcy Judge




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